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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT
WILLIAM PATRICK,
      Petitioner,

       v.                                        Case No. 3:14cv0034(WWE)

UNITED STATES OF AMERICA,
     Respondent.


                        RULING ON AMENDED PETITION
                 TO VACATE, SET ASIDE OR CORRECT SENTENCE

       Petitioner William Patrick has filed an amended petition pursuant to 28 U.S.C. §

2255 to vacate, set aside or correct his sentence. In a ruling dated June 13, 2017, this

Court rejected petitioner’s arguments raised in his prior petition, in which petitioner had

argued that there was a violation of Brady v. Maryland, 373 U.S. 83 (1963); that he is

actually innocent; that certain sentence enhancements were misapplied; and that there

was ineffective assistance of counsel. This Court also declined to issue a Certificate of

Appealability.

       In accordance with 28 U.S.C. § 2244(b)(3), a petitioning-defendant must seek

permission from the Second Circuit Court of Appeals before filing a second or

successive application. A petition is considered to be second or successive if a prior

petition raised claims regarding the same conviction or sentence and that petition was

decided on the merits. Quezada v. Smith, 624 F.3d 514, 517 (2d Cir. 2010).

Accordingly, a transfer pursuant to 18 U.S.C. § 1681 to the Second Circuit is the proper

remedy for an uncertified successive § 2255 petition.




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                                    CONCLUSION

      For the foregoing reasons, the Amended Petition to Vacate, Set Aside or Correct

Sentence is transferred to the Second Circuit Court of Appeals.

      Dated this 11th day of January, 2018 at Bridgeport, Connecticut.

                                        /s/Warren W. Eginton________________
                                        Warren W. Eginton
                                        Senior United States District Judge




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